                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE 1 ► QLL DISTRICT OF TENNESSEE,
                           SIRS-~tV i (-~:E DIVISION



                    COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                       UNDER TITLE 42 U.S.C., SECTION 1983


Name:
Prison Number: a 0 g 1'~ C)


Name:
Prison Number:


Name:
Prison Number:

Plaintiff(s)                                Civil Action No.:
(List the Names of all plaintiffs Filing
 this Lawsuit; do not use "ET AL")          (To be assigned by the Clerk's Office.)
                                            (Do not write in this blank space)
vs.

G 0Q F,k A AiZ   11L O51- h\,          ,




Defendant(s)
(List the names of all defendants against
 whom you are filing this lawsuit; do not
 use "ET AL")




  If you need more space to list other plaintiffs and/or defendants, so indicate
                       and attach a separate of paper.




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I.   PREVIOUS LAWSUITS:

     A.    Have you or any of the other plaintiffs listed above filed any other lawsuits in a
           United States District Court (Tennessee) and/or in any other state or federal court?


                   Yes             No

     B.    If your answer YES to Question A, list the following information:

           (If you have filed more than one lawsuit, describe the additional lawsuits on another piece
           of paper, using the same outline as below).

                   Parties to previous lawsuit:

                   Plaintiffs:




                   Defendants:




                    1f1 T~i~T~a LAS; N\q Lk~w,L WUX)




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      2.    In what court did you file the previous lawsuit?.




            ( If Federal Court, name the district; if State Court, name the county)

      3.    Case Number of previous lawsuit:




      4.    Name of Judge to whom case was assigned:




      5.    When did you file the previous lawsuit?



            (Indicate year if you don't know the exact month or day)

      6.    What was the disposition or result of the previous lawsuit (For example,
            was it dismissed, appealed, or is it still pending?)

             -~)\Smi SSe 0
      7.    When was the previous lawsuit decided by the Court? (Indicate the year if
            you do know exact month or day)

                azst4

      8.    Did the previous lawsuit involve the same facts or circumstances that you
            are alleging in the lawsuit you are now submitting?


                   Yes             No
                                                                            Page of 3
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II.   PLACE OF CURRENT CONFINEMENT OF PLAINTIFFS):

      A.    Name of prison or jail, in which you are currently incarcerated:




      B.    Are the facts of your lawsuit related to your confinement in your present prison or
            jail?


                   Ye              No

      C.    If your answer is No to question B, list the name and address of the jail or prison to
            which the facts of your lawsuit relate:




      D.    Do the facts of your lawsuit relate to your confinement in a Tennessee State prison?


                   Yes             No

      E.    If your answer YES to Question D, did you present these facts to the prison
            authorities through the state prison grievance procedure?


                   Yes           (No

      F.    If you answered YES to Question E.

            1.     What steps did you take?




                                                                    Page of 4
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      2.     What was the result?




G.    If you answered NO to Question E, Explain why not:



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III. PARTIES TO THIS LAWSUIT:

                Name of First Plaintiff:
                N~ 1 ST"19 ~ SR"C- W4 \ T-E-b


                Prison ID Number of first Plaintiff-
                   WE

                Address of First Plaintiff-
                -T 0---i X
                  A

                                           1A

                (Include name of institution and mailing address)

          2.    Name of Second Plaintiff:




                Prison ID Number of second Plaintiff:




                Address of second Plaintiff:




                (Include name of institution and mailing address)

          3.    Name of Third Plaintiff:




                Prison ID Number of third Plaintiff:
                                                                  Page of 6
    Case 1:19-cv-00014 Document 1 Filed 01/10/19 Page 6 of 23 PageID #: 6
(Include name of institution and mailing         Address of       Plaintiff.
address)

Name of       Plaintiff:




Prison ID Number of         Plaintiff.
                                                 (Include name of institution and mailing
                                                 address)




For each defendant, check whether you are naming the defendant in his or her individual
and/or official capacity.

1.    Name of First Defendant:




      Place of Employment of First Defendant:
       60vaU-t~,V. 0~-- —MN jes5cu


                           LA 3


      Address of First Defendant:
          ~G me N-5 A'Y04z-




      Named in official capacity:          Yes         No
      Named in individual Capacity:        Yes         No

2.    Name of Second Defendant:

                                                                               Page of 8
     Case 1:19-cv-00014 Document 1 Filed 01/10/19 Page 7 of 23 PageID #: 7
 Place of Employment of Second Defendant:




                              1



Address of Second Defendant:




Named in official capacity:       Yes       M
                                            ile

Named in individual Capacity:       es      No

Name of Third Defendant:


Place of Employment of Third Defendant:




Address of Third Defendant:




                                                              Page of 9
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IV.     STATEMENT OF FACTS

State the relevant facts of your case as briefly as possible. Include the dates when the incidents or
events occurred, where they occurred, and how each defendant was involved. Be sure to include
the names of other persons involved and the dates and places of their involvement.

If you set forth more than one claim, number each claim separately and set forth each claim in a
separate paragraph. Attach additional sheets, if necessary. Use 81/2 in. x 11 1/2 in. paper. Write
on one side only and leave a 1 in. margin on all four sides.




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If you require additional space, attach a separate sheet, or extra sheets, of paper.

V.     RELIEF REQUESTED:

       List what you want the court to do; list the relief you seek against each defendant:
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       C.




       I~




       E.




       I (we) hereby certify under penalty of perjury that the above complaint is true to the best of
my (our) information, knowledge, and belief.


Signed this the   I   day ofd hk ,-~i , 20h, in the county of Hickman, State of Tennessee.


Ciri
Signature:

Prison ID Number:      c    mal

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